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                             No. 23-991
In the United States Court of Appeals for the Ninth Circuit


                 UNITED STATES OF AMERICA,

                                                   Plaintiff- Appellant,

                                  v.

                      GREGORY PHEASANT,

                                                  Defendant-Appellee.


           On Appeal from the United States District Court
                     for the District of Nevada
                  District Court No. 3:21-cr-24
                       Hon. Robert C. Jones


      BRIEF OF THE NEW CIVIL LIBERTIES ALLIANCE
 AS AMICUS CURIAE IN SUPPORT OF DEFENDANT-APPELLEE


                                 Kara M. Rollins
                                 John J. Vecchione
                                 NEW CIVIL LIBERTIES ALLIANCE
                                 1225 19th St. NW, Ste. 450
                                 Washington, DC 20036
                                 202-869-5210
                                 kara.rollins@ncla.legal

                                 Counsel for Amicus Curiae
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                 CORPORATE DISCLOSURE STATEMENT

      The New Civil Liberties Alliance has no parent corporation. No publicly

held corporation owns any of the stock of the New Civil Liberties Alliance.


Date: April 26, 2024

                                      /s/ Kara M. Rollins
                                      Kara M. Rollins
                                      New Civil Liberties Alliance
                                      1225 19th St. NW, Ste. 450
                                      Washington, DC 20036
                                      202-869-5210
                                      kara.rollins@ncla.legal

                                      Counsel for Amicus Curiae




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                        INTEREST OF AMICUS CURIAE

      The New Civil Liberties Alliance (“NCLA”) is a nonpartisan, nonprofit civil

rights organization and public-interest law firm.        Professor Philip Hamburger

founded NCLA to challenge multiple constitutional defects in the modern

administrative state through original litigation, amicus curiae briefs, and other

advocacy. 1

      The “civil liberties” of the organization’s name include rights at least as old

as the U.S. Constitution itself, such as jury trial, due process of law, and the right to

have laws made by the nation’s elected lawmakers through constitutionally

prescribed channels (i.e., the right to self-government). These selfsame civil rights

are also very contemporary—and in dire need of renewed vindication—precisely

because Congress, the President, federal agencies, and even sometimes the Judiciary,

have neglected them for so long.

      NCLA aims to defend civil liberties—primarily by asserting constitutional

constraints on the administrative state. Although the American People still enjoy the

shell of their Republic, there has developed within it a very different sort of

government—a type, in fact, that the Constitution was designed to prevent. This

unconstitutional state within is the focus of NCLA’s concern.


1
  All parties have consented to the filing of this brief. No counsel for any party
authored any part of this brief. No one other than the amicus curiae, its members, or
its counsel financed the preparation or submission of this brief.
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      NCLA strongly supports judicial enforcement of separation-of-powers

principles, including the constitutional mandate that “[a]ll legislative powers” “shall

be vested in … Congress.” U.S. CONST., art. I, § 1 (the “Vesting Clause”). By

requiring that no one other than Congress may exercise legislative powers, the

Constitution “ensure[d] that the lines of accountability would be clear: The

sovereign people would know, without ambiguity, whom to hold accountable for the

laws they would have to follow.” Gundy v. United States, 139 S. Ct. 2116, 2134

(2019) (Gorsuch, J., dissenting).

      NCLA is particularly troubled by the enforcement provision in the Federal

Land Policy and Management Act of 1976, 43 U.S.C. § 1701 et seq., (“FLPMA”).

That provision, 43 U.S.C. § 1733(a), violates the Vesting Clause by providing the

Bureau of Land Management (“BLM”) unfettered authority to criminalize activity

on BLM-controlled public lands—an exclusively legislative power.

                                    INTRODUCTION

      By vesting “[a]ll legislative Powers” in Congress, “[t]he executive power” in

the President, and “[t]he judicial power” in the courts, the Constitution intentionally

separates the branches of government to avoid combining power within a single

branch. U.S. CONST., art. I, § 1; U.S. CONST., art. II, § 1; U.S. CONST., art. III, § 1.

The nondelegation doctrine “is rooted in the principle of separation of powers that

underlies our tripartite system of Government.” Mistretta v. United States, 488 U.S.

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361, 371 (1989). The Constitution mandates that only the people’s elected

representatives may adopt new federal laws restricting individual liberty. U.S.

CONST., art. I, § 1 (“All legislative Powers herein granted shall be vested in a

Congress of the United States[.]”) (emphasis added). The grant of “[a]ll legislative

Powers” to Congress means that Congress may not transfer to others “powers which

are strictly and exclusively legislative”—such as the power to write criminal laws.

Wayman v. Southard, 23 U.S. (10 Wheat.) 1, 42-43 (1825).

                                    ARGUMENT

 I.        CONGRESS MAY NOT DIVEST POWER THE CONSTITUTION VESTS IN IT

      The Constitution grants Congress—and Congress alone—the power to

legislate, i.e., to make binding rules that limit the liberty that citizens would

otherwise enjoy. U.S. CONST., art. I, § 1. The mandatory location of this power in

Congress is essential to a fundamental principle of self-government: citizens must

consent, through their elected representatives, to all legal limits on their liberty. But

it is not only this underlying principle that should guide this Court in barring any

relocation of legislative power. Both the drafting debates and the Constitution’s text

make clear that legislative power cannot be shared, transferred, or subdelegated.

      A.     The Constitution Forbids All Legislative Delegation

      The delegation of power was done solely by the people via the Constitution,

not by Congress. So, it is difficult to understand how Congress—for example, in

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§ 1733(a)—could delegate binding lawmaking power to BLM to create new criminal

laws. This point rests not merely on underlying principles but on the text. The

Constitution says each of its tripartite powers “shall be vested” in its own branch of

government. U.S. CONST., art. I, § 1, art. II, § 1, art. III, § 1. If it had used merely the

word “vested” as one might in a grant of property, saying that the legislative powers

are hereby vested in Congress, then there arguably could be a transfer of powers

between branches. But, in declaring that its powers “shall be vested,” the

Constitution not only vests legislative, executive, and judicial power in respective

branches, but says where such powers “shall be”—and thus must remain—located.

       This separation-of-powers requirement was made clear in the earliest

surviving academic lectures on the Constitution, which were given in 1791 by the

Virginian Judge St. George Tucker at the College of William and Mary. He

explained that “all the powers granted by the Constitution are either legislative,

executive, or judicial; and to keep them forever separate and distinct, except in the

Cases positively enumerated, has been uniformly the policy, and constitutes one of

the fundamental principles of the American Government.” St. George Tucker, Law

Lectures, p. 4 of four loose pages inserted in volume 2, Tucker-Coleman Papers,

Mss. 39.1 T79, Box 62, Special Collections Research Center, Earl Gregg Swem

Library, College of William and Mary.



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      When the Constitution says the legislative powers shall be vested in
      Congress, it requires them to be there, not elsewhere. That is, when
      legislative powers are shared with the executive, they are no longer
      vested merely in Congress, and the sharing thus violates the
      Constitution’s injunction that they shall be vested in Congress. The
      Constitution does not say that the legislative powers, including the
      power to regulate commerce, ‘shall be vested in a Congress of the
      United States and such other bodies as Congress specifies.’

Philip Hamburger, Nondelegation Blues, 91 GEO. WASH. L. REV. 1083, 1174 (2023)

(footnote omitted; emphasis in original).

      The phrase “shall be vested” thus reinforces what already should be clear, that

“the Constitution’s vesting of powers is not just an initial distribution—like an initial

dealing out of cards.” Id. Rather than merely vest all legislative powers in Congress,

the Constitution further mandates that all such powers may not be delegated to

another branch. Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 472 (2001)

(confirming that the Constitution’s “text permits no delegation of [legislative]

powers”); J.W. Hampton, Jr. & Co. v. United States, 276 U.S. 394, 406 (1928) (“[I]n

carrying out that constitutional division into three branches it is a breach of the

national fundamental law if Congress gives up its legislative power and transfers it

to the President[.]”).

      The United States highlights that the Property Clause’s, U.S. CONST., art. IV,

§ 3, “needful” language is interpreted “expansively,” but fails to discuss whether and

how that fact impacts the nondelegation issue in this matter. See OB-11-12. It has


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been suggested that the Property Clause may provide an exception to this bedrock

principle of our tripartite system because it empowers Congress to “make all needful

Rules and Regulations respecting the Territory or other Property belonging to the

United States.” U.S. CONST., art. IV, § 3; see also Eli Nachmany, The Irrelevance of

the Northwest Ordinance Example to the Debate About Originalism and the

Nondelegation Doctrine, 2022 U. ILL. L. REV. ONLINE 17 (Feb. 25, 2022) (surveying

scholarly disagreement on nondelegation and the “Property Clause.”). But nothing

in the Property Clause undermines the structural and textualist prohibitions on

nondelegation of Congressional power. The Property Clause empowers “Congress

to   make    all   needful   Rules    and    Regulations”    and    no   one     else.

U.S. CONST., art. IV, § 3 (emphasis added). The Government cannot use federal

retention of 67% of the land mass of Nevada to argue that bedrock principles of our

representative government cease to exist in two-thirds of the State of Nevada.

      B.    Transferring Legislative Power Undermines Self-Government

      The Constitution’s prohibition against delegating legislative power is not only

necessary to protect one branch of government from intrusion by another, but “[t]he

structural principles secured by the separation of powers protect the individual as

well.” Dep’t of Transp. v. Ass’n of Am. RRs, 575 U.S. 43, 55 (2015) (quoting Bond

v. United States, 564 U.S. 211, 222 (2011)). That is because legislative delegation

collides with the Constitution’s most important principle: consent of the people.

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Without consent, a government would be illegitimate, and its laws would be without

obligation.

      Consent of the people was essential not only for the original adoption of the

Constitution but also for enacting statutes. Such consent must come through the

election of representatives to the legislature—the body vested with legislative

power. American colonists declared: “the first Principle in Civil Society, founded in

Nature and Reason, [is] that no Law of the Society can be binding on any

Individual[], without his Consent, given by himself in Person, or by his

Representative of his own free Election[.]” Resolutions of the Boston Town Meeting

(Sept. 13, 1768), in A Report of the Record Commissioners of the City of Boston,

Containing the Boston Town Records, 1758 to 1769, at 261 (Boston: Rockwell &

Churchill, 1886).

      The displacement of legislative power to administrative agencies, not least in

§ 1733(a) and the crimes created by regulations promulgated under it, threatens this

self-governance. It deprives Americans of their freedom to rule themselves through

their elected representatives. Judge Thapar recently explained that the Framers

designed “Congress [to be] the [branch] most responsive to the will of the people …

for a reason: Congress wields the formidable power of ‘prescrib[ing] the rules by

which the duties and rights of every citizen are to be regulated.’ If legislators misused

this power, the people could respond, and respond swiftly.” Tiger Lily, LLC v. HUD,

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5 F.4th 666, 674 (6th Cir. 2021) (Thapar, J., concurring) (quoting THE FEDERALIST

No. 78, at 465 (Alexander Hamilton) (Clinton Rossiter ed., 1961)).

      The transfer of legislative powers to a less accountable branch necessarily

undermines consent. To be sure, the dislocation of legislative power does not deny

anyone’s right to cast a ballot. But shifting legislative power out of the legislature

and into agencies diminishes the value of suffrage. The form remains, but in reality

the currency of voting is debased. And if violations of voting rights are worrisome

even at a retail level, as the mantra to “count every ballot” attests, there should be at

least as much concern about wholesale assault on the franchise by transferring

lawmaking power from elected representatives to unelected bureaucrats—

particularly when that transfer occurs in the criminal context which is predicated, in

part, on a concept of moral condemnation by the community. See F. Andrew Hessick

& Carissa Byrne Hessick, Nondelegation and Criminal Law, 107 VA. L. REV. 281,

300 (2021) (“This need for community condemnation has led criminal theorists to

conclude that only laws which were enacted by a democratically accountable body

may form the basis of criminal punishment.”).

      The transfer of legislative powers to agencies also weakens accountability by

allowing an evasion of bicameralism and presentment. Bicameralism makes

lawmaking difficult by design—to limit corruption and unjust passions and

encourage prudence. THE FEDERALIST No. 62, at 420–21 (J. Madison) (Jacob E.

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Cooke ed., 1961); THE FEDERALIST No. 63, at 426–28 (J. Madison) (Jacob E. Cooke

ed., 1961). Presentment ensures that laws are subject to the possibility of a veto.

Together, the requirements ensure that lawmaking responsibilities reside in the two

elected legislative bodies and in an elected president—all of whom are personally

accountable to the people.

      However, “Congress has an incentive to insulate itself from the consequences

of hard choices” by “transfer[ring] … hard choices from Congress to the executive

branch.” Tiger Lily, 5 F.4th at 674 (Thapar, J., concurring). When Congress transfers

its legislative power to an administrative agency, “the people lose control over the

laws that govern them. … [T]he public loses the right to have both its elected

representatives and its elected president take personal responsibility for the law.”

David Schoenbrod, Power Without Responsibility, 99–105 (Yale U. Press 1993).

Indeed, “the citizen … can perhaps be excused for thinking that it is the agency really

doing the legislating.” City of Arlington v. FCC, 569 U.S. 290, 315 (2013) (Roberts,

C.J., dissenting). In this case, there is little doubt that it is BLM—not Congress—

doing the legislating.

      “By shifting responsibility [to enact criminal laws] to a less accountable

branch, Congress protects itself from political censure—and deprives the people of

the say the framers intended them to have.” Tiger Lily, 5 F.4th at 674 (Thapar, J.,

concurring). Because this shift is the product of collusion between Legislative and

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Executive Branches, the people must rely on the Judicial Branch to prevent

unconstitutional delegations of legislative power. “[T]he uniquely harsh sanctions

that result from criminal law violations makes delegation of criminalization a matter

of special concern[.]” Brenner M. Fissell, When Agencies Make Criminal Law, 10

UC IRVINE L. REV. 855, 880 (2020). Unfortunately, “the Court’s decisions on

criminal delegations are confused and conflicting.” Hessick & Hessick, supra p. 8,

at 295. Skepticism about the validity of criminal delegations is warranted, not only

because criminal sanctions invade liberty interests but also because criminalization

of behavior is a uniquely legislative act.

II.       DETERMINING WHAT ACTIONS ARE CRIMINAL IS STRICTLY AND
          EXCLUSIVELY A LEGISLATIVE POWER

      The basic principle—that Congress must determine what is a crime—stems

from the legislative nature of the action because defining what actions are crimes

necessarily has “the purpose and effect of altering the legal rights, duties and

relations of persons … outside the legislative branch.” I.N.S. v. Chadha, 462 U.S.

919, 952 (1983). The creation of binding policy lies at the core of legislative power.

Cf. Tigner v. Texas, 310 U.S. 141, 148 (1940) (“How to effectuate policy—the

adaptation of means to legitimately sought ends—is one of the most intractable of

legislative problems.”).




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      The grant of “[a]ll legislative Powers” to Congress means that Congress may

not transfer to others “powers which are strictly and exclusively legislative”—such

as the power to write criminal laws. Wayman, 23 U.S. (10 Wheat.) at 42-43; see also

A.L.A. Schechter Poultry Corp. v. United States, 295 U.S. 495, 529 (1935)

(“Congress is not permitted to abdicate or to transfer to others the essential

legislative functions with which it is thus vested.”). “[E]nacting criminal statutes is

a core congressional function, because the alternative (delegating legislative power

to the executive branch) has an untenable result−placing the lawmaking and the law-

enforcing in a single branch of government.” Mark Chenoweth & Richard Samp,

Reinvigorating Nondelegation with Core Legislative Power, THE ADMINISTRATIVE

STATE BEFORE THE SUPREME COURT 97 (Peter J. Wallison & John Yoo eds., AEI

Press 2022). As James Madison eloquently explained “[d]etails, to a certain degree,

are essential to the nature and character of a law; and on criminal subjects, it is proper

that details should leave as little as possible to the discretion of those who are to

apply and execute the law.” James Madison, 4 The Debates in the Several State

Conventions on the Adoption of the Federal Constitution 559–60 (Jonathan Elliot

ed., 2d ed., 1836). But under § 1733(a), the details of what constitutes a crime

committed on Bureau-managed lands are left wholly, and unconstitutionally, to the

discretion of the Executive Branch who also enforces the law.



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      In our tripartite system, the legislature criminalizes conduct and sets statutory

penalties, the executive prosecutes crimes and can recommend a sentence, and the

judiciary sentences defendants within the applicable statutory framework.

United States v. Bass, 404 U.S. 336, 348 (1971). “[B]ecause of the seriousness of

criminal penalties, and because criminal punishment usually represents the moral

condemnation of the community, legislatures and not courts should define criminal

activity.” Id.; see also Gundy v. United States, 139 S. Ct. 2116, 2134 (2019)

(Gorsuch, J., dissenting); Hessick & Hessick, supra p. 8, at 300. This separation

promotes the constitution’s “key liberty-enhancing feature … that no citizen can be

imprisoned without the concurrence of all three branches of government and a jury

of that citizen’s peers.” Chenoweth & Samp, supra p. 11, at 102.

      The Court has long recognized the “the plain principle that the power of

punishment is vested in the legislative, not in the judicial department. It is the

legislature, not the Court, which is to define a crime, and ordain its punishment.”

United States v. Wiltberger, 18 U.S. (5 Wheat.) 76, 95 (1820) (emphasis added).

There is little reason to think that vesting the legislative power of punishment in

Congress would permit that power to be exercised by the Executive Branch. “The

definition of the elements of a criminal offense is entrusted to the legislature,

particularly in the case of federal crimes, which are solely creatures of statute.”

Liparota v. United States, 471 U.S. 419, 424 (1985) (citing United States v. Hudson,

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11 U.S. 32, 34 (1812)). On close inspection, cases like Loving v. United States, 517

U.S. 748 (1996), do not change this process. As Justice Gorsuch elucidated in his

Gundy dissent, “[w]hile the Constitution vests all federal legislative power in

Congress alone, Congress’s legislative authority sometimes overlaps with authority

the Constitution separately vests in another branch.” 39 S. Ct. at 2137 (citing Loving,

517 U.S. at 768). He noted that because both Congress and the Executive hold power

in those limited scenarios, no separation-of-powers problem may arise. Id. Not so

here, where the Executive has no independent constitutional power to determine

what is or is not a crime. While dicta from Loving suggests “[t]here is no absolute

rule … against Congress’ delegation of authority to define criminal punishments[,]”

517 U.S. at 768, the text and structure of the Constitution dictate otherwise.

      As the Court has observed in another criminal context, “[i]t would be

dangerous, indeed, to carry the principle, that a case which is within the reason or

mischief of a statute, is within its provisions, so far as to punish a crime not

enumerated in the statute, because it is of equal atrocity, or of kindred character, with

those which are enumerated.” Wiltberger, 18 U.S. (5 Wheat.) at 96 (providing

general observations regarding the construction of criminal statutes). This suggests

that crimes must be enumerated by statute, which only Congress can do. BLM’s

regulations at issue here, 43 C.F.R. § 8341.1(f)(5) and (h), may be of “kindred

character” to § 1733(a)’s edict to act “with respect to the management, use, and

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protection of the public lands,” but they were not enumerated by Congress. They

were instead promulgated by the agency pursuant to its purported § 1733(a)

authority. See 44 Fed. Reg. 34,836 (June 15, 1979).

      The Supreme Court’s constitutional proportionality precedent lends

additional support to the legislative nature of determining what is or is not a crime.

The Eighth Amendment protects individuals from excessive bail and fines, as well

as cruel and unusual punishments. U.S. CONST., amend. VIII. The proportionality

principle requires “that a criminal sentence must be proportionate to the crime for

which the defendant has been convicted.” Solem v. Helm, 463 U.S. 277, 290 (1983).

In Solem, the Court also recognized that legislatures possess “broad authority” to

“determin[e] the types and limits of punishments for crimes.” Id. Thus, “judgments

about the appropriate punishment for an offense belong in the first instance to the

legislature.” United States v. Bajakajian, 524 U.S. 321, 336 (1998) (citing id.).

      By its terms, § 1733(a) is forward-looking and only addresses criminal

punishments for regulations promulgated in the future. So, the fundamental

judgment of what constitutes appropriate punishment for a crime could not have

occurred before Congress adopted § 1733(a) because the crimes that provision

applies to did not yet exist. How can Congress determine if a punishment is

appropriate for as-yet-undefined crimes? The answer is simple: it can’t. This

suggests that there is an order in which Congress must decide what is a crime and

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what the appropriate punishment for that crime is. Both these legislative acts must

occur sequentially for them to pass the constitutional proportionality principle. First,

Congress must decide whether certain behavior constitutes a crime, then it must

determine the appropriate punishment. See Hudson, 11 U.S. at 34 (“The legislative

authority of the Union must first make an act a crime, affix a punishment to it, and

declare the Court that shall have jurisdiction of the offence.”). But § 1733(a) gets

this process backward—it determines the punishment for an as-yet-undefined

crime—making the proportionality principle unworkable.

                                   CONCLUSION

      This Court should affirm.

Date: April 26, 2024              Respectfully submitted,

                                        /s/ Kara M. Rollins
                                        Kara M. Rollins
                                        John J. Vecchione
                                        NEW CIVIL LIBERTIES ALLIANCE
                                        1225 19th St. NW, Ste. 450
                                        Washington, DC 20036
                                        202-869-5210
                                        kara.rollins@ncla.legal

                                        Counsel for Amicus Curiae




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(C), I certify that:

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Date: April 26, 2024

                                       /s/ Kara M. Rollins
                                       Kara M. Rollins
                                       New Civil Liberties Alliance
                                       1225 19th St. NW, Ste. 450
                                       Washington, DC 20036
                                       202-869-5210
                                       kara.rollins@ncla.legal

                                       Counsel for Amicus Curiae




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               Case: 23-991, 04/26/2024, DktEntry: 34.1, Page 23 of 23




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      I hereby certify that on April 26, 2024, I electronically filed the foregoing with

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by using the appellate CM/ECF system.

      Participants in the case who are registered CM/ECF users will be served by

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Date: April 26, 2024

                                        /s/ Kara M. Rollins
                                        Kara M. Rollins
                                        New Civil Liberties Alliance
                                        1225 19th St. NW, Ste. 450
                                        Washington, DC 20036
                                        202-869-5210
                                        kara.rollins@ncla.legal

                                        Counsel for Amicus Curiae




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